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                                                                      FILED
                IN THE UNITED STATES DISTRICT COURT FOR        . 01      T COURT
                        SOUTHERN DISTRICT OF GEORGIA
                              AUGUSTA DIVISION
                                                                 JM1 -1 P 1


     UNITED STATES OF AMERICA          *
                                       *
          V.                           *           CR 189-031-25
                                       *
     JOSEPH LOVETT                     *



                                  ORDER



          Presently before the Court in the captioned criminal case

     is Defendant's October 26, 2006 motion for modification of an

     imposed term of imprisonment. (Doc. no. 1745.) The

     government has filed a response opposing the motion. (Doc.

     no. 1748.) The arguments contained within the instant motion

     lack merit. However, in light of Kirnbrouqh v. United States,

     128 S. Ct. 558 (2007) , and the recent amendments to U.S.S.G.

     § 1B1.10, which take effect on March 3, 2008, the Court will

     DEFER ruling upon Defendant's motion until the Court has had

     sufficient time to prepare a systematic process for the

     consideration of closed cases which may be affected thereby.

               ORDER ENTERED at Augusta, Georgia, this                   day

     of January 2008.
